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                                  Nebraska Supreme Court A dvance Sheets
                                          301 Nebraska R eports
                                                  STATE v. LEAHY
                                                 Cite as 301 Neb. 228



                                        State of Nebraska,        appellee, v.
                                         John R. Leahy III,     appellant.
                                                    ___ N.W.2d ___

                                        Filed October 5, 2018.    No. S-17-1047.

                1.	 Sentences: Appeal and Error. Whether a defendant is entitled to credit
                    for time served and in what amount are questions of law, subject to
                    appellate review independent of the lower court.
                2.	 ____: ____. An appellate court will not disturb a sentence imposed
                    within the statutory limits absent an abuse of discretion by the trial
                    court.
                3.	 ____: ____. Where a sentence imposed within the statutory limits is
                    alleged on appeal to be excessive, the appellate court must determine
                    whether a sentencing court abused its discretion in considering and
                    applying the relevant factors as well as any applicable legal principles
                    in determining the sentence to be imposed.
                4.	 Sentences. In determining a sentence to be imposed, relevant factors
                    customarily considered and applied are the defendant’s (1) age, (2)
                    mentality, (3) education and experience, (4) social and cultural back-
                    ground, (5) past criminal record or record of law-abiding conduct,
                    and (6) motivation for the offense, as well as (7) the nature of the
                    offense and (8) the amount of violence involved in the commission of
                    the crime.
                5.	 ____. The appropriateness of a sentence is necessarily a subjective
                    judgment and includes the sentencing judge’s observation of the defend­
                    ant’s demeanor and attitude and all the facts and circumstances sur-
                    rounding the defendant’s life.
                6.	 ____. Generally, it is within a trial court’s discretion to direct that
                    sentences imposed for separate crimes be served either concurrently or
                    consecutively.
                7.	 Judges: Plea Bargains: Sentences. A judge is not bound to give a
                    defendant the sentence recommended by a prosecutor under a plea
                    agreement.
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           Nebraska Supreme Court A dvance Sheets
                   301 Nebraska R eports
                         STATE v. LEAHY
                        Cite as 301 Neb. 228
  Appeal from the District Court for Hitchcock County: David
W. Urbom, Judge. Affirmed.
  Richard Calkins, of Calkins Law Office, for appellant.
   Douglas J. Peterson, Attorney General, and Sarah E. Marfisi
for appellee.
  Heavican, C.J., Cassel, Stacy, Funke, and Papik, JJ., and
Bishop and Welch, Judges.
   Papik, J.
   John R. Leahy III was serving a criminal sentence in
Colorado when he was extradited to Nebraska to face charges
here. Approximately 19 months later, Colorado authorities
granted Leahy parole. After he was convicted of kidnapping
and manslaughter in Nebraska, the district court determined
he was not entitled to credit for time served prior to his
parole in Colorado. Leahy now appeals the denial of credit
for time served, the admission of an exhibit the district court
received in the course of determining whether and to what
extent he was entitled to credit for time served, and the con-
secutive nature of his sentences. Having found no reversible
error in any aspect of the district court’s sentencing of Leahy,
we affirm.
                        BACKGROUND
Charges Against Leahy.
   In June 2015, the State filed an information charging Leahy
with first degree murder for killing Austin Wright in the per-
petration of a kidnapping or attempted kidnapping. Pursuant
to a plea agreement, Leahy pleaded no contest to an amended
information charging him with kidnapping and manslaughter.
In accordance with the plea agreement, Leahy also pleaded no
contest to an amended information in a separate case, charg-
ing him with possession of methamphetamine with intent to
deliver. As agreed, the State recommended concurrent sen-
tences for all charges in both cases.
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          Nebraska Supreme Court A dvance Sheets
                  301 Nebraska R eports
                        STATE v. LEAHY
                       Cite as 301 Neb. 228
   According to the factual basis supplied by the State at
the plea hearing, Leahy and Wright were acquaintances, and
Wright stayed briefly at Leahy’s residence beginning February
26, 2014. On March 7, Wright’s mother contacted Leahy.
She had not seen Wright for several days and asked Leahy
where he was. Leahy told Wright’s mother that Wright had
shown up high “on something” at Leahy’s residence and that
Wright could not stay there anymore. On March 8, Leahy told
Wright’s mother that he had dropped Wright off near a motel
in McCook, Nebraska, that day. On March 9, Wright’s mother
filed a missing person’s report.
   On March 13 and 20, 2014, police interviewed Leahy. At
that time, Leahy told officers that he had dropped Wright off
near a motel in McCook. A search of Leahy’s residence on
April 9 uncovered 26.82 grams of methamphetamine and a
cell phone video of Leahy and Wright arguing about debts that
Wright owed Leahy for drugs, among other things. The video
was date stamped March 6.
   The day after the search, Leahy asked to talk to police.
He admitted that under the pretense of going to McCook, he
and another passenger took Wright in his car, that he forced
Wright to cover his head with a sweatshirt, that he drove the
car on a circuitous route intended to confuse Wright, and that
he left Wright alone in an isolated rural area with no means
of transportation. Before leaving, Leahy pointed Wright in the
general direction of the nearest town, 8 miles away. The near-
est inhabited dwelling was over 11⁄2 miles in nearly the oppo-
site direction.
   After Leahy recounted those details, officers went to the
area Leahy said he had left Wright. Nearby, officers found
Wright’s naked body and some of his clothing. Authorities
identified Wright using dental records, and an autopsy and
forensic testing showed that he died of hypothermia some-
time between early March 2014 and the date of discovery on
April 11.
   The district court accepted Leahy’s pleas of no contest.
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           Nebraska Supreme Court A dvance Sheets
                   301 Nebraska R eports
                         STATE v. LEAHY
                        Cite as 301 Neb. 228
Initial Sentencing Hearing.
   After the district court accepted Leahy’s pleas, it continued
sentencing for preparation of a presentence investigation report
(PSR). At the subsequent sentencing hearing, a dispute arose
regarding the time-served calculation in the PSR. Leahy was
serving a 3-year sentence in Colorado when he was charged
in Nebraska for the current offenses. He was transported to
Nebraska to await trial according to the interstate Agreement
on Detainers, see Neb. Rev. Stat. § 29-759 (Reissue 2016), and
began his incarceration in Nebraska on May 7, 2015. While
still detained in Nebraska, Leahy was paroled by the State of
Colorado on November 28, 2016. The PSR as initially prepared
is not in the record, but arguments by counsel at the hearing
suggest that it indicated Leahy was entitled to credit for all of
the time he was detained in Nebraska prior to his convictions
and sentencing.
   At the hearing, the State contended that Leahy should not
receive credit for time he was detained in Nebraska prior to
Colorado’s grant of parole on November 28, 2016. Leahy’s
counsel did not dispute that Leahy was paroled by Colorado on
November 28, but argued that Leahy should receive credit for
any time he spent incarcerated in Nebraska awaiting trial on
Nebraska charges. The district court scheduled another hearing
to address credit for time served.

Additional Hearing Addressing
Credit for Time Served.
   At the next hearing, the State offered exhibit 51, which
included a signed cover letter from a technician at the Colorado
Department of Corrections, “Time/Release Operations.”
The letter stated that Leahy was paroled from the Colorado
Department of Corrections on November 28, 2016.
   Leahy’s counsel objected on foundation and hearsay, not-
ing that he had not had the opportunity to question the author
of the document. Leahy’s counsel further argued that Leahy
may have completed his Colorado sentence earlier if he had
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           Nebraska Supreme Court A dvance Sheets
                   301 Nebraska R eports
                         STATE v. LEAHY
                        Cite as 301 Neb. 228
not been transported to Nebraska but that there was no way to
know for certain, because no one was present to explain exhibit
51. The district court ultimately overruled Leahy’s objection
and received exhibit 51.
   In a subsequent written order, the district court ruled that
Leahy would not receive credit toward his Nebraska sentences
for the time beginning May 7, 2015, and ending November
28, 2016, because his Colorado sentence was still running dur-
ing that period. However, the district court did allow Leahy
credit for time he served after he was paroled by the Colorado
Department of Corrections.

Sentencing Order.
   Almost 2 weeks after issuing its written order on the issue of
time served, the district court held a sentencing hearing. At the
hearing, the parties presented arguments, including aggravating
and mitigating information from the PSR. The PSR reflected
that Leahy was 22 years old at the time of the current offenses,
that he was single with no children, that he left school after
completing the 10th grade, and that at the time of his arrest for
the current offenses, he had been employed at a drilling com-
pany full time for 7 or 8 months.
   According to the PSR, Leahy was diagnosed with bipolar
disorder as a youth but has never treated the condition with
medication. Leahy reported that his mental health is good,
though he admitted attempting suicide several times after his
mother died. Leahy had used marijuana daily since age 12.
Beginning at age 14, Leahy used methamphetamine intermit-
tently until 2013, when he began using it every day. Leahy
admitted to having a problem with drugs and to selling ille-
gal drugs.
   Leahy’s criminal history began when he was convicted
of pharmaceutical drug possession at age 14. Subsequently,
Leahy was convicted of assault, minor in possession, fail-
ure to appear, two felony drug possession charges, and false
reporting. Regarding Wright, Leahy reported that he felt
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           Nebraska Supreme Court A dvance Sheets
                   301 Nebraska R eports
                         STATE v. LEAHY
                        Cite as 301 Neb. 228
“horrible” and never anticipated that Wright would die. He
stated that he believed he deserved to “serve time just for what
he did wrong, but not made an example of.” He expressed an
intent to take advantage of educational opportunities during
his incarceration.
   At the sentencing hearing, Leahy apologized for his actions.
He admitted that he initially lied about Wright’s whereabouts,
but he asked the district court to consider that he had since
been honest and accepted responsibility through his no con-
test pleas.
   Before pronouncing the sentences, the district court explic-
itly stated that it had considered all of the customary factors
enumerated in sentencing. The district court proceeded to
reference information it obtained from the PSR. It remarked
specifically on Leahy’s age, education, employment, criminal
history, and use of drugs. Noting Leahy’s role in covering
Wright’s head and taking him on a circuitous route in Leahy’s
car before leaving him alone in a rural area, the district court
observed that but for Leahy’s actions, Wright would still
be alive. The district court stated that lesser sentences than
the ones to be imposed would depreciate the seriousness of
Leahy’s crimes and promote disrespect for the law.
   The district court sentenced Leahy to 24 to 30 years’ impris-
onment for kidnapping and 18 to 20 years’ imprisonment for
manslaughter. It ordered the sentences to run consecutively to
each other and to the sentence of 8 to 10 years’ imprisonment
that Leahy received in a separate case for the conviction of
possession of methamphetamine with intent to deliver.

                 ASSIGNMENTS OF ERROR
   Leahy assigns, rephrased, that the district court erred (1) in
denying him credit for the time served in the Hitchcock County
jail before November 28, 2016; (2) in receiving exhibit 51
over his objection; and (3) in imposing excessive sentences by
sentencing him to consecutive terms of imprisonment for the
various convictions.
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           Nebraska Supreme Court A dvance Sheets
                   301 Nebraska R eports
                         STATE v. LEAHY
                        Cite as 301 Neb. 228
                  STANDARD OF REVIEW
   [1] Whether a defendant is entitled to credit for time served
and in what amount are questions of law, subject to appellate
review independent of the lower court. See State v. Wills, 285
Neb. 260, 826 N.W.2d 581 (2013).
   [2] An appellate court will not disturb a sentence imposed
within the statutory limits absent an abuse of discretion by
the trial court. State v. Russell, 299 Neb. 483, 908 N.W.2d
669 (2018).

                            ANALYSIS
Credit for Time Served.
   Leahy contends that he should have received credit for all
the time he spent detained in Nebraska awaiting trial and sen-
tencing on his Nebraska charges. Leahy argues that because
he was detained in a Nebraska jail awaiting the disposition of
the Nebraska charges, that entire time should be credited to his
Nebraska sentences.
   Leahy’s argument, however, fails to account for the statute
that governs whether and to what extent he is entitled to credit
for time served or cases interpreting and applying that statute.
Neb. Rev. Stat. § 83-1,106(1) (Reissue 2014) states:
      Credit against the maximum term and any minimum term
      shall be given to an offender for time spent in custody as
      a result of the criminal charge for which a prison sentence
      is imposed or as a result of the conduct on which such a
      charge is based. This shall specifically include, but shall
      not be limited to, time spent in custody prior to trial,
      during trial, pending sentence, pending the resolution of
      an appeal, and prior to delivery of the offender to the
      custody of the Department of Correctional Services, the
      county board of corrections, or, in counties which do not
      have a county board of corrections, the county sheriff.
(Emphasis supplied.)
   In prior cases interpreting and applying § 83-1,106(1), it
has been held that if a defendant is serving a sentence on a
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           Nebraska Supreme Court A dvance Sheets
                   301 Nebraska R eports
                         STATE v. LEAHY
                        Cite as 301 Neb. 228
conviction for one offense while awaiting trial and sentenc-
ing on an unrelated offense, he or she is not entitled to credit
for time served on the sentence for the unrelated offense. For
example, in State v. Baker, 250 Neb. 896, 553 N.W.2d 464(1996), a defendant was sentenced to a term of imprisonment
for being a felon in possession of a firearm and, on that same
day, charged with other offenses arising out of an unrelated
murder. Even though the defendant was detained while await-
ing trial and sentencing on the charges arising out of the mur-
der, we held that he was not entitled to credit on his eventual
sentence for the charges arising out of the murder so long as he
was continuing to serve his sentence for being a felon in pos-
session of a firearm. Id.   Similarly, in State v. McLeaney, 6 Neb. App. 807, 578
N.W.2d 68 (1998), in a case much like this one, the Nebraska
Court of Appeals held that an individual who was serving a
Missouri sentence and was transported to Nebraska to face
charges was not entitled to credit for time spent awaiting trial
and sentencing in Nebraska. The Court of Appeals cited Baker
and explained that § 83-1,106(1) “provides for credit for the
time the offender is forced to be in custody as a result of
the criminal charge for which sentence is imposed.” State v.
McLeaney, 6 Neb. App. at 810, 578 N.W.2d at 70 (emphasis in
original). Because the defendant in McLeaney was in custody
because of the sentence in Missouri, the Court of Appeals con-
cluded he was not entitled to credit for time served. We have
subsequently cited the Court of Appeals’ opinion in McLeaney
with approval. See State v. Hunnel, 290 Neb. 1039, 863
N.W.2d 442 (2015).
   As Baker and McLeaney demonstrate, what matters in the
credit for time served analysis is not whether Leahy was
detained in Nebraska and awaiting trial and sentencing on
Nebraska charges, but, rather, whether he was forced to be in
custody because of those charges. As long as Leahy was serv-
ing a sentence on another conviction while awaiting trial and
sentencing on the Nebraska charges, he was not forced to be
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           Nebraska Supreme Court A dvance Sheets
                   301 Nebraska R eports
                         STATE v. LEAHY
                        Cite as 301 Neb. 228
in custody because of the Nebraska charges and is thus not
entitled to credit for time served on his Nebraska sentences
under § 83-1,106(1).
   On the question of whether Leahy was serving a sentence on
another conviction while detained in Nebraska, there does not
appear to be much of a dispute. Leahy concedes that he was
serving a sentence in Colorado at the time he was transported
to Nebraska to face charges here. Under Colorado law, Leahy
would have continued to receive credit for time served on
his Colorado sentence even while detained in Nebraska. Like
Nebraska, Colorado has adopted the interstate Agreement on
Detainers, which provides that time being served on a sentence
continues to run while the prisoner is being made available for
trial as required by the agreement. See Colo. Rev. Stat. Ann.
§ 24-60-501 (West 2015). See, also, Pleasant v. Tihonovich,
647 P.2d 236 (Colo. 1982) (holding prisoner serving Colorado
sentence was entitled to credit for time he was in New Mexico
pursuant to interstate Agreement on Detainers).
   While Leahy does not dispute that he was earning credit
on his Colorado sentence until being paroled, he does assert
that he may have been granted parole earlier had he not been
transported to Nebraska. Leahy appears to take the position
that he should receive credit for time served for any days he
was detained in Nebraska after the date that Colorado authori-
ties would have paroled him had he remained there. Leahy,
however, cannot direct us to anything in the credit for time
served statutes that would require courts to engage in the type
of counterfactual inquiry he envisions in order to calculate
credit for time served. Indeed, we have said that the credit for
time served to which a defendant is entitled is “an absolute
and objective number that is established by the record.” State
v. Clark, 278 Neb. 557, 562, 772 N.W.2d 559, 563 (2009).
The calculation of credit for time served would quickly lose
any absolute and objective quality if sentencing courts were
required to determine when a sentence would have ended as
opposed to when it actually did.
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           Nebraska Supreme Court A dvance Sheets
                   301 Nebraska R eports
                          STATE v. LEAHY
                         Cite as 301 Neb. 228
   Since Leahy was in custody because of his Colorado sen-
tence up until he was paroled on November 28, 2016, the
district court correctly denied him credit for time spent in
custody prior to that date.

Exhibit 51.
   Leahy also argues that the district court erred by receiving
exhibit 51 in the course of one of the hearings regarding the
credit for time served issue. Leahy objected to the exhibit at
the hearing on foundation and hearsay grounds. On appeal,
he argues that the exhibit should not have been admitted,
because foundation was lacking and because its admission
denied him his right to confrontation guaranteed by the Sixth
Amendment to the U.S. Constitution.
   Initially, we note that it is difficult to discern how the dis-
trict court’s receipt of exhibit 51 worked to Leahy’s detriment.
The only assertion in exhibit 51 that the court appeared to rely
on was the fact that Leahy was paroled on November 28, 2016.
Leahy, however, does not contest that he was paroled on this
date. Moreover, if anything, the district court’s receipt of infor-
mation indicating the date of Leahy’s parole benefited Leahy,
because the district court granted Leahy credit for time served
after he was paroled on his Colorado sentence.
   In any event, Leahy’s arguments fail to account for the fact
that exhibit 51 was received in the sentencing phase of the
case. At the time exhibit 51 was received, Leahy’s pleas had
already been accepted. The only thing left to be done at that
point was to impose Leahy’s sentences, and the district court
received exhibit 51 at a hearing set for the purpose of deter-
mining whether Leahy would be entitled to credit for time
served on that sentence.
   We have held that the traditional rules of evidence are
relaxed during the sentencing phase and that evidence may
be presented as to any matter that the court deems relevant
to the sentence. See State v. Pullens, 281 Neb. 828, 800
N.W.2d 202 (2011). Exhibit 51 related to whether and to
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           Nebraska Supreme Court A dvance Sheets
                   301 Nebraska R eports
                         STATE v. LEAHY
                        Cite as 301 Neb. 228
what extent Leahy was entitled to credit for time served and
could thus be considered by the district court. In addition,
even if we assume that Leahy’s objection to exhibit 51 on
hearsay grounds was sufficient to preserve his argument that
consideration of exhibit 51 violated his right to confrontation,
we have held that the right to confrontation is inapplicable
to sentencing proceedings. See State v. Galindo, 278 Neb.
599, 774 N.W.2d 190 (2009). See, also, U.S. v. Powell, 650
F.3d 388 (4th Cir. 2011) (collecting cases from federal cir-
cuit courts holding that Confrontation Clause does not apply
at sentencing). The district court did not err by receiving
exhibit 51.

Excessive Sentences.
   Finally, Leahy assigns that the district court erred in impos-
ing excessive sentences. Leahy does not dispute that the sen-
tences imposed were within statutory limits. Rather, he chal-
lenges the consecutive nature of his sentences. We conclude
that the district court did not commit reversible error in order-
ing that Leahy’s sentences be served consecutively.
   [3-5] Where a sentence imposed within the statutory limits
is alleged on appeal to be excessive, the appellate court must
determine whether a sentencing court abused its discretion in
considering and applying the relevant factors as well as any
applicable legal principles in determining the sentence to be
imposed. State v. Russell, 299 Neb. 483, 908 N.W.2d 669(2018). In determining a sentence to be imposed, relevant fac-
tors customarily considered and applied are the defendant’s
(1) age, (2) mentality, (3) education and experience, (4) social
and cultural background, (5) past criminal record or record
of law-abiding conduct, and (6) motivation for the offense,
as well as (7) the nature of the offense and (8) the amount
of violence involved in the commission of the crime. Id.The appropriateness of a sentence is necessarily a subjective
judgment and includes the sentencing judge’s observation of
the defendant’s demeanor and attitude and all the facts and
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           Nebraska Supreme Court A dvance Sheets
                   301 Nebraska R eports
                         STATE v. LEAHY
                        Cite as 301 Neb. 228
circumstances surrounding the defendant’s life. State v. Steele,
300 Neb. 617, 915 N.W.2d 560 (2018).
   Leahy acknowledges that the district court expressly stated
these considerations. However, he contends that the district
court did not properly weigh the factors or fully consider them,
especially as they apply to the decision to impose Leahy’s
sentences consecutively rather than concurrently. In particular,
Leahy argues that the district court neglected to consider his
mentality, the motivation for the offenses, and the degree of
violence involved, which, he contends, all amounted to mitigat-
ing factors. We disagree with Leahy’s characterization of the
district court’s analysis.
   Our review of the record shows that the district court prop-
erly considered and applied the necessary sentencing factors.
In sentencing Leahy, the district court reviewed the informa-
tion, both aggravating and mitigating, in the PSR. It also heard
detailed arguments from counsel. As noted, the district court
specifically stated that it had considered all of the customary
factors enumerated in sentencing. It then discussed specific
facts pertaining to a majority of those factors. We do not find
an abuse of discretion in the court’s consideration of the sen-
tencing factors.
   [6,7] Nor do we find that the district court abused its dis-
cretion in making Leahy’s sentences consecutive. Generally,
it is within a trial court’s discretion to direct that sentences
imposed for separate crimes be served either concurrently or
consecutively. State v. Vanness, 300 Neb. 159, 912 N.W.2d
736 (2018). Pursuant to the plea agreement, the State recom-
mended that the district court impose concurrent sentences
for Leahy’s offenses. As Leahy concedes, however, a judge is
not bound to give a defendant the sentence recommended by
a prosecutor under a plea agreement. See State v. Gonzalez-
Faguaga, 266 Neb. 72, 662 N.W.2d 581 (2003). And the dis-
trict court specifically advised Leahy of this fact at the plea
hearing. In light of the familiar sentencing factors set forth
above and Leahy’s role in Wright’s death, we cannot say that
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           Nebraska Supreme Court A dvance Sheets
                   301 Nebraska R eports
                         STATE v. LEAHY
                        Cite as 301 Neb. 228
the district court abused its discretion in imposing consecu-
tive sentences.
                        CONCLUSION
   We find no basis to reverse any aspect of Leahy’s sentences.
The district court correctly calculated the extent to which
Leahy was entitled to credit for time served, did not err by
receiving exhibit 51, and did not abuse its discretion by impos-
ing consecutive sentences.
                                                      A ffirmed.
   Miller-Lerman and Freudenberg, JJ., not participating.
